378 U.S. 567
    84 S.Ct. 1924
    12 L.Ed.2d 1038
    Pedro Camacho LOPEZv.TEXAS.
    No. 396, Misc.
    Supreme Court of the United States
    June 22, 1964
    Rehearing Denied Oct. 12, 1964.
    
      See 85 S.Ct. 21.
      Carlos C. Cadena, for petitioner.
      Waggoner Carr, Atty. Gen. of Texas, and James E. Barlow, for respondent.
      On Petition for Writ of Certiorari to the Court of Criminal Appeals of Texas.
      PER CURIAM.
    
    
      1
      The motion for leave to proceed in forma pauperis and the petition for a writ of certiorari are granted. The judgment of the Court of Criminal Appeals of Texas is vacated and the case is remanded for further proceedings not inconsistent with the opinion of this Court in Jackson v. Denno, 378 U.S. 368, 84 S.Ct. 1774.
    
    
      2
      Mr. Justice BLACK, Mr. Justice CLARK, Mr. Justice HARLAN and Mr. Justice STEWART dissent for the reasons stated in their dissenting opinions in Jackson v. Denno, supra.
    
    